Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 1 of 9 PageID: 1043



 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY

                                            X


 MALKA LASRY,

                     Plaintiff,                  Case No. 3:18-cv-O977 6-PGS-DEA

                V.                               Judge Peter G. Sheridan

 JP MORGAN CHASE     & CO.,

                     Defendant,

                                             X


 PLAINTIFF MALKA LASRY'S BRIEF IN RESPONSE TO THE COURT'S FEBRUARY 25,
 2O2O ORDER DTRECTTNG ADDTIONAL BRTEFtNG TO BE FTLED By 3/3l2O2O




                                                    Edward B. Geller, Esq.

                                  Edward B. Geller, Esq., P.C., Of Counsel to

                                       M. Harvey Rephen & Associates,      P.C

                                                     15 Landing Way

                                                     Bronx, New York 10464

                                                    Tel:(914)473-6783

                                                     Email: epbh@aol.com

                                           Attorneys for Plaintiff Malka Lasry
Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 2 of 9 PageID: 1044




            Plaintiff Malka Lasry submits this brief in response to the Court's

 February 25,2020 Order directing that a brief be filed by Edward Geller by

 March 3,2020 for additional briefing on Chase's request for fees. This brief

 addresses (1) whether the Court has jurisdiction over M. Harvey Rephen and

 M. Harvey Rephen & Associates, P.C.; (2) the scope of Mr. Geller's "Of Counsel"

 designation; and the applicability of Federal Rule of Civil Procedure 11's

 requirements.



    t.     PERSONAT JURISDICTION OVER         M. HARVEY REPHEN AND M. HARVEY
           REPHEN & ASSOCIATES, P.C.


           Plaintiff Lasry signed a retainer agreement with the law offices of

 M. Harvey Rephen & Associates, P.C. on May 9,2018. See Exhibit         l attached.
 Ms. Lasry retained the Rephen Law Firm after seeing an advertisement which it

 had placed in a local newspaper in New Jersey. See Exhibit 2 attached. lndeed,

 the Rephen Law Firm does not deny that it purposefully directed its activities at
 residents in New Jersey. Nor does it deny that this Court has jurisdiction over it



     The Rephen Law Firm argues instead that Defendant has not met its burden

 to be awarded sanctions in this matter, and refers the Court to the Bench Brief it
 filed on November L9,2OL9. ln that Brief, it was made clear that Plaintiff's

 counsel did not multiply the proceedings in an unreasonable or vexatious manner

  to increase the costs of this proceeding, nor did it act in bad faith or by
  intentional misconduct. Ms. Lasry retained the Rephen Law Firm after Defendant
Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 3 of 9 PageID: 1045




 deliberately chose to ignore her explicit request to have calls and text messages

 from Defendant to her cell phone stopped. Plaintiff appeared for a deposition
 and responded to extensive written discovery demands from Defendant. When

 Plaintiff decided that she and her family would have to move out of the country,

 to lsrael, for financial reasons, she made known her wish to discontinue the
 action against Defendant. Rather than agree and close out the matter, Defendant

 chose to expand the scope and breadth of the proceeding, thus greatly increasing

 its expenses unnecessarily. Defendant served a subpoena upon the Rephen Law

 Firm, and when Mr. Rephen explained in great detail why he could not respond to

 it, Defendant filed its requests for sanctions and legalfees. Mr. Rephen provided
 a detailed affidavit explaining why he was unable    to respond to the subpoena.
 He fas been living in lsrael for some time   to be with his ailing son. As such, he
 does not have access to any of the records and documents requested in the

 subpoena



   ln addition to the fact that Defendant failed to meet its burden of proof in order

 to be awarded sanctions and legal fees, the requested fees are excessive and
 unreasonable. ln order to be awarded legal fees under Section L927, the Court

 must find "willful bad faith on the part of the offending attorfi€y," and "that the

 claims advanced were meritless, that counsel know or should have known this,

 and that the motive for filing the suit was for an improper purpose such as

 harassment." See page 3 of Chase's Bench Brief. This burden has not been met.

 And Plaintiff's Bench Brief demonstrated that many of the items contained in
Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 4 of 9 PageID: 1046




 Defendant's breakdown of legal fees are duplicative or even unnecessary.



     It is obvious that Defendant is trying to send a message to potential plaintiffs

 in Telephone Consumer Protection Act matters. Even though Defendant violated

 the T.C.P.A., the victim/consumer may be punished for seeking to protect his or

 her rights underthe statute. TheT.C.P.A. was enacted to protect consumers like

 Ms. Lasry from unrelenting harassment by creditors. Should Defendant prevail in

 this pending matter, it will cause consumers to hesitate to enforce their rights

 under the statute. That would be unfortunate and endanger the rights of all

 consumers.



    II.   THE SCOPE OF MR. GELLER,S "OF COUNSEL" DESIGNATION



     ln this matter, Mr. Geller is appearing "Of Counsel" to the Rephen Law Firm.

 According to West's Encyclopedia of American Law, edition 2, "of counsel"         is

 defined as an attorney who has been employed to aid in the preparation and

 management of a particular case but who is not the principal attorney in the

 action. lt has also been explained   as a reference to an attorney who participates

 on a case by case basis in the activities of a law   firm.   U.S. Legal .com defines   "of
 counsel" as an attorney who is not actively involved in the day to day work of         a


 law firm, but may be available in particular matters or for consultation.

     Mr. Geller works for the Rephen Law Firm. Ms. Lasry had a retainer

 agreement with the Rephen Law Firm, not with Mr. Geller. The pleadings which
Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 5 of 9 PageID: 1047



 commenced this action were signed by Edward B. Geller, Esq., of Edward        B.

 Geller, Esq. , P.C., in his capacity as Of Counsel to M. Harvey Rephen &

 Associates, P.C. The Rephen Law Firm was lVls. Lasry's attorney in this matter.

 Mr. Geller was in constant contact with Mr. Rephen throughout the pendency of

 this action.



    1il.   THE APPLICABILITY OF FEDERAL RULE OF CIVIL PROCEDURE 11'S
           REQUIREMENTS


           Plaintiff agrees with Defendant's position on lhis question to the extent

 that Rule 11 does not apply to Chase's sanctions request   as stated in its Brief.

 That being said, Plaintiff again vigorously denies that Defendant is entitled to the

 relief being sought under Section 1927 or under any other basis for the reasons

 set forth above.



 Dated: March 3,2020                           /slEdward B. Gelter
                                              Edward B. Geller, Esq.

                                              Edward B. Geller, Esq.,   P.C.

                            Of Counselto M. Harvey Rephen & Associates,        P.C.

                                               15 Landing   Way          :


                                               Bronx, New York 10464

                                               Tel: (914)473-6783

                                               Email: epbh@aol.corn

                                               Attorneys for Plaintiff Malka Lasry
Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 6 of 9 PageID: 1048




                               EXH IBIT   "1"
           Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 7 of 9 PageID: 1049


                                                                             ?SE   3r-cts t*-ru       Il.: \     t-"   I0{ I? {S:*{$= :*t       e93i,



                                                                              esg&$w
       ffiex*: }FiK
                      tl      t{
                                                                                            ex*ni:       \$fitr\q,i              .   1-{r.S{ .'{          S,     *       {y\.*,        i       f_.,-;1,,".1.

       a*ar*r;        ]]fi             iu e-rrub Piq, E                                     Fhoees-
                                                                                                             EqB             -}rc               *B{*utl I t.rt - i.*,- . t, }ir,

       ro litiFate   yois u?*imr


                                                                                                                                                                       lxs            i*f   X,


                                                                                                                                                                                                         a**
                                                                                                                                                                                                       r*"1q   jll-. {q8-i.&a1l

                                                                                                                                                    t
       f.Fff* *SS f$&&-{*$gSr T&* xmxxim*rx                            p***ibk flp*{!g{y,.g*3fl4geq :{}u ni*y &* arxxrdrd by' * ***:rtr c}{ ts in i* ss F e['a *r * { "I{& r*s!d ig
       $1'W- lf       **rs b
                     pr* jadg*xest                   *at{trs{s*fit y*x   ril! ot*tt*uWX6mai*iag bxia*ec afl th* r*e*vrry {*x*lxdixg d*irr r*i,r*f * drh* r*ti*f i*
       i*r*ng y**r l*gei li*bitit$ !* p*y             {:}r*   €*kt diss$tved) xitl h* &ilr &*t&r&*y'$ fu.** i**iadixg {ix* {,}iiiti **d *xp*x**i* {*x,lept {or *ed$6, ei}d pxxitiv*



        {bffi5 $r   q}a     c6s€ {tspa fhe dcbt re}ief is *d*e{: t+ t*te telsl !vha$            *a!c*lxli*g r}l*        &#.n;4i}$"trs sp1;i }rrr**'**r:   lI* r}i**t   x*d li:s iG::isi



                                                                                                                                                                             fsi.n




                        .   sxt*:*rix*x US tr **g*liet*" s**1*, rurd litigat* in *<ldlti*n {*: $I}CSA *a*5ri *I'3.{}l}i3 !it}.?'*a$l;s$ *i xcli**. rir.t{h a:r i'{",{t,q Farr {'lrt{1li
                          "4xt, arld  ?fFA T*l*Bh**e {l*esr:m*r h*{**tis* Ast vislat'sn$, ilf xmr:r**y's ik** xtr ::ultr *,t*'lrxl*r5 ::: anl- iliil*r ':,aii$ii$ .:r1 E ;:c,: +r:lilcl* *1 **
          $'*eFA                      &*si l&E *'.*11 b* paid ** a 5{}t i. e*x*ag***y le* ib: xay*bl*g *ix**ri*d tr t1-:* {}l*r:li# i* i: st;e ss;;ii;l :..!i}r: l}43* d** i.}:;r:r;: r:ih*r

                                                                                                                                                                                                                          {rl
                                                                                                                                                                                     .€,!&f. rpe{. 1i d!q$i"i        it$"s}
                                                                                                                                                                         *1-**ffi3$9*-&wh-s{*,
 :                                                   X*   &{i{.rs;3lly xea**n*bl* WtXl*r&**C *rxd r*}r}f r ;rlly :.1lxlass**airi* s*tir(rr{11!, !1ui'Jdr,'}l* 1r* *51:{13;**d 1?11in' rl ,.rr}.:
                                                                       ea.s* hsd $r***Ed**t t* {ftx! l.ari eiier:r *1**s *drc pray **t :t{r*r,llr::r'} le*l *r iiir*g i** '. s*l* iilL{r!:r*', i**l}i:r*
 *,                                                                                  *:r *:* l*nt*,0{*:* *xvrr:gs {**gai f**1 L:!ir}i. eapra?ai*$ 3;1{rtrrq !**} . *L:..i iii*,-li:itnr,liin! *iii
 *
 *                                                                      t*   **rr*x a*fernpC*el   ***m*rn:**li*r1* lreq*rc{i:rg * ri*tii{"rr1**a 1$i1;1 1i"*lrr 1}i* .4fi,1l1*,-                 '   :Jrt:ui.li}:* ilra
 A         ***&reg *tr ;a rryis*xx&$ l*try       * dx*     *&a &*i**?it;y {e& ****S1 *{:d a;gir *re ilgr*r:r*elrrt i**xl r*}*a".;* l;r: i:eh:ll           f l th* *li*$t
 €
           &fiffieffiffi;              xrll**l*fu i"aq    6."ix*: ***&* tr: av*i;3 ax3- {** d!*pxt** x:&,*lxir {:i!*i:!:5"           *ill
                                                                                                                                 l}{d-l\ ri,ri:            !*i:r il:!iu{;i.   ,r, ,-+.- r            ,;1ii:1 d l-lttptita {.1*{:$
 $                                                                                                                                                                                          "*:t:1
                                                                                                                                                                                            *L*:ri:li, lhe l.a*            li'rr:.t'
                                                                                                                                                                                        ];ri: al:{' ;l.t}*xits 3r
 x          *ibiqr*1,{x}r xmdi**       L*e iixp s{atr *nchtt a cltpv nf };l. ar&itr*li*r                               * i*m: l*r r*{r*e${:;lg *ibi.rc***
 x                                                                                                    ;r.lle; *'::;J                                              1'h+   ri*rr:r:lr :.:i,ulii;:* tr*:,:Jbi*':i1rt'ij
 *
 *                                                                                                                                                           i!*r .l*i* ;l: lr*"irt+h, ;r:j*t J1l;f*r:r,
x                     :,,i tI:                                                                                                                               1tr;;*:t,::   ;*,-3gm*nt
sre                                                                      a$}q!rse    *,c                   t{. il}?lg x* y,:::11a{ a{rl }:*t:it*d l:y rl i'r',. li'r.j,' li,l!::t;L{i* rei 3i s}iiilil{            lr, iitlf
                                                                          $:l* -f,,*{5               **i1* ::re i*& tg ali. er:tl|. r.Y"pr;i3,3, ,ti:* ri:i*;.t:i'.:i :'"lr; i'!"*:.!ai :ti. l.
ffi                                                                      *::*tl" xg:**     i*     lf}'&!i $1 ii:is,4$i**{}le;}t, **ri i.l;l:r l.:riraij* -: ,::i!.:i :r1i r{
&                                                                                                                                               1
m
fi!T
T
It
il
Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 8 of 9 PageID: 1050




                                EXH IBIT   "2"
Case 3:18-cv-09776-PGS-DEA Document 46 Filed 03/03/20 Page 9 of 9 PageID: 1051




                                                                                 .r   rit
